                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                             3:05cr400-FDW


UNITED STATES OF AMERICA,                       )
                                                )
                               Plaintiff        )
                                                )
               v.                               )                 ORDER
                                                )
CUMMINS ET AL,                         )
                                                )
                               Defendant        )



This MATTER is before the Court on its own motion to administratively close the case as to

following defendants: ROBERTO ALBERTO FIELDS CURTIS (5), MARCO ANTONIO

FONSECA KRONE (8), JACOB RONADL CHACON KRONE (9),and CELIN

MARCELL CHACON (10). The defendants appears to remain a fugitive with no activity

taking place in this case in recent times.



It is, therefore, ordered that this case be deemed closed for administrative purposes only, subject

to re-opening upon the apprehension or appearance of the defendants.

                                                    Signed: April 26, 2011




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